      MAGISTRATE JUDGE NEWBERN COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS
                              by VIDEOCONFERENCE

U.S.A. v. Riccardo Spagni                                                                , No. 3:21-mj-4149

ATTORNEY FOR GOVERNMENT:               Joe Montminy


ATTORNEY FOR DEFENDANT:                Jonathan Farmer, Brian Klein, & Melissa Meister            AFPD        Panel   Retained

PRETRIAL SERVICES/PROBATION OFFICER:

INTERPRETER NEEDED?            YES    NO         LANGUAGE/INTERPRETER:
                                                   PRESENT   TELEPHONE                    VIDEO

   Defendant consents appear to before the Magistrate Judge by video conference.

   INITIAL APPEARANCE             ON A SUMMONS             ARRESTED ON:
      DEFENDANT HAS A COPY OF:
         Complaint      Indictment      Information     Supervised Release Pet.       Other ____________________
         Defendant advised of the charges and the maximum penalties        Defendant has a copy of notice of rights
         Defendant advised of right to counsel                   Counsel retained
         Defendant sworn and/or certified under penalty of perjury and financial affidavit filed       FPD Appointed
         Defendant advised of right to silence
         Defendant advised of right to Consular notification
         GOVERNMENT and DEFENDANT advised of Due Process Protections Act of 2020
         Defendant advised of right to preliminary hearing                Defendant waived preliminary hearing
         Government motion for detention                                  Defendant temporarily detained
         Defendant waived detention hearing                               ICE detainer on defendant
         Defendant reserved right to hearing in future                    Defendant to be returned to State custody
         Defendant to remain in Federal custody                           Defendant waived rights under IAD
         Defendant to remain on current conditions of supervised release
         Defendant ordered to psychological/psychiatric evaluation
         Defendant released on:
                Own recognizance with conditions of release        standard        special
                Appearance bond in the amount of:
                Property bond [description of property]:
         RULE 5 - Defendant advised of right to identity hearing          Defendant waived identity hearing
         RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
         RULE 5 - Defendant elected to have detention hearing in District of Prosecution
         RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER
   PRELIMINARY/DETENTION/ARRAIGNMENT CONTINUED TO:

   GRAND JURY WAIVED IN OPEN COURT                 [Defendant sworn and advised of rights by Court]
   ARRAIGNMENT
        Defendant acknowledges he/she has copy of Indictment/Information         Court advised Def. of penalties
        Defendant waives reading thereof             Indictment/Information read to defendant by Judge
     PLEA:     GUILTY        NOT GUILTY               Defendant intends to plead guilty and case referred to DJ




       DATE: May 25, 2022                            TOTAL TIME: 16 minutes
       BEGIN TIME: 11:01 a.m.                        END TIME: 11:17 a.m.
         Digitally Recorded          Court Reporter:_____________________________

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   RULE 5 IDENTITY HEARING
        Held, defendant found to be person named in warrant
        Held, defendant found NOT to be person named in warrant and released
        Waived in open Court

   PRELIMINARY HEARING                      CONTINUED TO:
        Probable Cause found/Held to answer/bound over                          Discharged from custody
        Defendant waived preliminary hearing
        RULE 5 - Held to answer in District of Prosecution
        RULE 5 - Defendant reserved right to have hearing in District of Prosecution

   DETENTION HEARING                         CONTINUED TO:
        Government withdrew motion for detention or agreed to release
        Pretrial Services Report made a part of the record        Counsel moved to retain copy of PTSR/granted
        Bond set at: ___________________                 Defendant released on [date]:                  ______
        RULE 5 - Defendant elected to have hearing in District of Prosecution
        Defendant waived detention hearing                Defendant reserved right to hearing in future
        Defendant detained, order to enter                ICE detainer pending
        Defendant to remain in Federal custody            Defendant to be returned to State custody
        Government moved for stay of execution of release pending appeal
                 Motion granted                           Motion denied
        Defendant advised of right to appeal

   ARRAIGNMENT ON MISDEMEANOR
        Defendant acknowledges he/she has copy of Indictment/Information
        Indictment/Information read to defendant by Judge      Defendant waives reading thereof
     PLEA:      GUILTY          NOT GUILTY
        Misdemeanor - defendant consented to trial before Magistrate Judge
        Written plea agreement/filed in open Court             Oral plea agreement
        Guilty plea:           Accepted                Rejected                Taken under advisement

   OTHER
       Type of hearing and outcome:     Extradition Hearing




   DEFENDANT DID NOT APPEAR AS DIRECTED, BENCH WARRANT ISSUED


NOTES/EVIDENTIARY MATTERS/SENTENCING:                             (Witnesses, Exhibits, Attach W/Ex List if necessary)

Mr. Spagni waived his right to an extradition hearing and will surrender to the Marshal's Office the eve of the
South African representatives departing South Africa to effectuate his arrest. Transfer tentatively set to occur
within 30 to 45 days.

Defendants second motion for temporary release of passport is granted
Defendants motion to strike re 49 is denied as moot.




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